
In re Sudds, Willie; — Plaintiff(s); applying for supervisory and/or remedial -writ; Parish of Orleans, Criminal District Court, Div. “B”, No. 263-199.
Denied. La.C.Cr.P, art.' 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/95), 661 So.2d 480.
LEMMON, J., not on panel.
